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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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In Re: New York City Policing During Summer                     : ORDER
2020 Demonstrations                                               20 Civ. 8924 (CM) (GWG)
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                                                               :
This filing is related to
                                                               :
ALL CASES:
                                                               :
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GABRIEL W. GORENSTEIN, United States Magistrate Judge

        On August 19, 2021, the Court held a discovery conference to address various issues
raised by the plaintiffs in Docket # 230. Among these issues was plaintiffs’s contention that
defendants improperly redacted entries on Internal Affairs Bureau resumes, Central Personnel
Index reports, and Civilian Complaint Review Board histories. During the conference, the Court
ordered plaintiffs to provide a sample of documents for the Court’s in camera review. On
September 7, 2021, at the Court’s direction, the City produced unredacted versions for the
Court’s in camera review.

        Having conducted the in camera review, the Court finds that the City has largely
complied with its responsibilities to produce the categories that both sides agree must be
produced (and that the Court would have ordered produced): incidents relating to excessive force
or false arrest, and incidents bearing on officers’ dishonesty.

        The Court has relied on the entries’ descriptions for the purposes of determining the
City’s production obligations. While it is theoretically possible that some entries (for example,
involving memo book discrepancies or improper stops or searches) might theoretically fit into
one of the categories (e.g., dishonesty), it would be too burdensome to require production of
materials that have only a speculative or tangential relation to the agreed-upon categories. We
note also that there are some entries that involve conduct with individuals known personally to
an officer and with whom the interaction at issue apparently did not occur during the
performance of the officer’s official duties — such as incidents involving threats or physical
force as to a domestic partner. Because these incidents involve neither use of official authority
nor interaction with the public, we will not require their production.

        However, the Court directs that the City produce entries relating to two incidents. First, a
2017 use of force incident involving an officer which appears at DEF_000162057. The Court
does not understand why this was not produced initially. Second, as reflected in
DEF_000162091 and DEF_000162249, in March 2020, the City substantiated a December 17,
2019 allegation that an officer “direct[ed] that a Complaint Report be prepared inaccurately.”
This is close enough to an allegation regarding dishonesty that it must be produced. The
production shall take place by October 19, 2021.
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      SO ORDERED.

Dated: October 12, 2021
       New York, New York
